0 /@<5%
IN THE UNITED STATES DISTRICT COURT ‘%6, \%/

 
 

FOR THE WESTERN DISTRICT OF TENNESSE,E/é, "4 10 §§
EASTERN DivlleN ' ‘“’?/' ”'¢_. '
UNITED srArEs oF AMERICA, ) ft
)
Plaintiff, )
)
vs. ) No. 05-10024-r
)
KEITH ROBINSON, )
)
Defendant. )

 

ORDER DENYING MOTION TO SUPPRESS
EVIDENCE AND DEFENDANT’S STATEMENT

 

Defendant Keith Robinson, by and through counsel, has moved to suppress evidence
seized on November 14, 2004, and that the statement made by defendant be suppressed A
hearing on the motions Was held on August 3, 2005, at Which time the court heard the
testimony of witnesses and statements of counsel. Based upon the evidence presented, and
for the reasons stated in open court on August 3, 2005, defendant’s motions are denied.

IT IS SO ORDERED.

JAM `D. TODD
UNI D sTArEs DISTRICT JUDGE

C/ m/B¢,A,# M

DATE

This document entered on the dockets e t ln compliance
with Hu|e 55 andlor 32 (b) FRCrP on 6

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 32 in
case 1:05-CR-10024 Was distributed by faX, mail, or direct printing on
August 5, 2005 to the parties listed.

 

 

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Honorable J ames Todd
US DISTRICT COURT

